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 1   LAW OFFICE OF TODD D. LERAS
     Todd D. Leras, CA SBN 145666
 2
     455 Capitol Mall, Suite 802
 3   Sacramento, California 95814
     (916) 504-3933
 4   toddleras@gmail.com
     Attorney for Defendant
 5
     ZACHERY BASTIEN
 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                          Case No.: 2:16-cr-216 GEB
12
                    Plaintiff,
13
     vs.                                                STIPULATION AND [PROPOSED] ORDER
14                                                      MODIFYING DEFENDANT’S SPECIAL
     ZACHERY JOSEPH BASTIEN,                            CONDITIONS OF RELEASE
15

16                  Defendant.

17

18

19

20          Defendant Zachery Bastien is presently on pre-trial release subject to special and general
21
     conditions. He is charged with structuring monetary transactions or conspiracy to structure
22
     monetary transactions (18 U.S.C. § 371 and 31 U.S.C. § 5313(a)) in four separate Indictments
23
     pending jury trial, in January 2020, before United States District Judge Garland E. Burrell, Jr.
24

25          The parties to this action, Plaintiff United States of America by and through Assistant

26   United States Attorney Kevin Khasigian, and Defendant Zachery Bastien by and through his
27
     ORDER MODIFYING PRE-TRIAL
28   RELEASE CONDITIONS
                    Case 2:16-cr-00216-DAD Document 64 Filed 06/14/19 Page 2 of 3


 1   attorney Todd D. Leras, stipulate as follows:
 2
               1.    During an Initial Appearance and Arraignment, held on January 26, 2017, United
 3
                     States Magistrate Judge Kendall J. Newman ordered Mr. Bastien released on a
 4
                     $25,000 unsecured bond (ECF Entry 18). The release order included various special
 5

 6                   conditions of release, including drug and/or alcohol testing as directed by Mr.

 7                   Bastien’s pre-trial services officer (Special Condition 9 – ECF Entry 21).
 8
               2. Pre-Trial Services Officer Steve Sheehan contacted the parties via email on June 12,
 9
                     2019, indicating that Mr. Bastien has consistently tested negative during the past two
10
                     and one-half years. Officer Sheehan suggested the parties consider requesting
11

12                   removal of the drug/alcohol testing condition. Mr. Bastien has complied with all

13                   other release conditions.
14
               3. The government has no objection to removal of the drug and/or alcohol testing
15
                     condition provided that all other conditions of release remain in full force and effect.
16
               The parties therefore request modification of Mr. Bastien’s Special Conditions of Release
17

18   to eliminate Special Condition 9 (drug and/or alcohol testing). All other special and general

19   conditions of the Release Order signed by Magistrate Judge Newman on January 26, 2017
20
     remain in full force and effect. Assistant U.S. Attorney Kevin Khasigian has reviewed this
21
     Stipulation and Proposed Order and has authorized via email Todd D. Leras to sign it on his
22
     behalf.
23

24   DATED: June 12, 2019
                                                               By      /s/ Todd D. Leras for
25                                                                     KEVIN KHASIGIAN
                                                                       Assistant United States Attorney
26

27
     ORDER MODIFYING PRE-TRIAL
28   RELEASE CONDITIONS
               Case 2:16-cr-00216-DAD Document 64 Filed 06/14/19 Page 3 of 3


 1   DATED: June 12, 2019
                                                         By      /s/ Todd D. Leras
 2
                                                                 TODD D. LERAS
 3                                                               Attorney for Defendant
                                                                 ZACHERY BASTIEN
 4

 5

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 7

 8
                                                 ORDER
 9
            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
10
     hereby ordered that Special Condition of Release 9 (drug and/or alcohol testing) be eliminated.
11

12   All other general and special conditions of release imposed by this Court on January 26, 2017

13   remain in full force and effect.
14
            IT IS SO ORDERED.
15

16
     DATED: June 13, 2019
17

18

19
                                               HONORABLE EDMUND F. BRENNAN
20
                                               CHIEF UNITED STATES MAGISTRATE JUDGE
21

22

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27
     ORDER MODIFYING PRE-TRIAL
28   RELEASE CONDITIONS
